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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                          Case No. 16-20417-Civ-COOKE/TORRES

   PETERBROOKE FRANCHISING OF
   AMERICA, LLC,

          Plaintiff/Counter-Defendant,
   vs.

   MIAMI CHOCOLATES, LLC, et al.,

         Defendants/Counter-Plaintiffs.
   _____________________________________/
                       ORDER SETTING EVIDENTIARY HEARING
          THIS MATTER comes before me on Plaintiff ’s Motion for Status Conference (ECF
   No. 225). In the Court’s Omnibus Order on Motions for Summary Judgment, the Court left
   open the issue of damages related to Plaintiff ’s claim for unfair competition in Count IV of
   the Amended Complaint. The Court, citing to Ramada Inns, Inc. v. Gadsden Motel Co., 804
   F.2d 1562, 1566-67 (11th Cir. 1986), stated that if Miami Chocolates operated at a loss
   during the period it competed unfairly, the damages aware would be comprised of two
   elements: 1) the royalties PFA normally received and 2) the expenditures necessary to
   establish a new franchise will be elements of the damages award.
          The parties agree that as to the first element, the Court should enter a judgment in
   favor of the plaintiff and against the Defendant in the amount of $12,286.72. The Court
   must now determine an award amount as to the second element, the expenditures necessary
   to establish a new franchise. Having reviewed Plaintiff ’s Motion, the record, the arguments
   of the parties made at the status conference on March 6, 2019, and the relevant legal
   authorities, the Court finds an limited evidentiary hearing on the second element of the
   unfair competition damages award is necessary.
          Accordingly, it is hereby ORDERED and ADJUDGED that Plaintiff ’s Motion for
   Status Conference (ECF No. 225) is GRANTED in part. This matter is set for an
   evidentiary hearing via Zoom to present evidence establishing the cost of the expenditures
   necessary to establish a new franchise on Tuesday, December 15, 2020 at 10:00 a.m. The
   Court will provide the parties with a Zoom link in advance of the hearing by separate

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   endorsed order.
           DONE and ORDERED in chambers at Miami, Florida, this 24th day of November
   2020.




   Copies furnished to:
   Edwin G. Torres, U.S. Magistrate Judge
   Counsel of Record




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